         Case 1:20-cv-10723-JCB Document 10 Filed 07/30/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF PENNSYLVANIA


 STEPHEN GIANNAROS,

                        Plaintiff,                        Case No. 1:20-cv-10723

        v.

 GROUP ROSSIGNOL USA, INC.,

                        Defendant.


                                     NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that Plaintiff Stephen Giannaros and Defendant Group

Rossignol USA, Inc. have reached an agreement in principle that will resolve the claims alleged

in the case, Giannaros v. Group Rossignol USA, Inc., Case No. 1:20-cv-10723. Plaintiff anticipates

filing a Notice of Voluntary Dismissal With Prejudice within thirty (30) days of this notice.

       Dated: July 30, 2020                  Respectfully Submitted,

                                             /s/ Jason M. Leviton
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          Case 1:20-cv-10723-JCB Document 10 Filed 07/30/20 Page 2 of 2




                                 CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed through

the ECF system on this date, and that a true copy of this document will be sent to those indicated

as non-registered participants on the Notice of Electronic Filing, if any, by on the same date.

                                              Respectfully Submitted,

 Dated: July 30, 2020                              /s/ Jason M. Leviton
                                                   Jason M. Leviton
